Case 2:20-cv-07200-PD Document 23 Filed 11/12/21 Page 1 of 1 Page ID #:1230



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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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         GALLAGHER DANIEL P.,
12                                                          Case No. 2:20-cv-07200-PD
13                            Plaintiff,
                                                            JUDGMENT
14                 v.

15       KILOLO KIJAKAZI,
         Acting Commissioner of Social
16
         Security,
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                             Defendant.1
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19           In accordance with the Order Affirming Agency Decision filed herewith,
20   IT IS HEREBY ADJUDGED that the decision of the Commissioner of the
21   Social Security Administration is affirmed and this action is dismissed with
22   prejudice.
23
         DATED: November 12, 2021                   HON. PATRICIA DONAHUE
24                                                  UNITED STATES MAGISTRATE JUDGE

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      Plaintiff’s name is partially redacted in accordance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
27   and the recommendation of the Committee on Court Administration and Case Management of the
     Judicial Conference of the United States. Kilolo Kijakazi, the Acting Commissioner of the Social
28   Security Administration, is hereby substituted in as the Defendant pursuant to Rule 25(d).
